918 F.2d 173Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David BRIGHT, Plaintiff-Appellant,v.Dennis DUSSING, Defendant-Appellee.
    No. 90-7372.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 29, 1990.Decided Nov. 16, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  William M. Nickerson, District Judge.  (CA-90-933)
      David Bright, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Baltimore, Md., for appellee.
      D.Md.
      AFFIRMED.
      Before WIDENER, PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      David Bright appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Bright v. Dussing, CA-90-933 (D.Md. Aug. 14, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    